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UNITED STATES DISTRICT COURT ECe /

 

 

 

FOR THE NORTHERN DISTRICT OF ILLINOIS VE
EASTERN DIVISION Noy 2 DH
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~* ERK AE f Qo
CIVIL ACTION v Co
(Namie of the plaintiff or plaintiffs) UR;
. , 11-cv-08314

 

eyo\e senider sity Leal 271 Judge Joan B. Gottschall

Magistrate Judge Morton Denlow

 

 

UName of the defendant or defendants)

COMPLAINT OF EMPLOYMENT DISCRIMINATION
1. This is an action for employment discrimination, .
2. The plaintiff is C>cecqtree C~ Uoelse) of the county of

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Cue iY in the state of ST ‘not SN
3. Thedefendantis lagyols (AwivesStty eal thy 54 $ few) , whose street address
is _AIGO Souk tH _ Ave, pe {7eG____ ee ,

i) at weed! (county) Cae K (state) EL, (ap) 2d) | 59
(Defendant’s telephone number) (703 )- Fl 67 Fe og CU
Il The plaintiff sought employment or was employed by the defendant at (street address)

 

(city)

 

 

(county) (state) (ZIP code)

5. The plaintiff [check one box]
aL] was denied employment by the defendant.
()L_] was hired and is still employed by the defendant.
ol] was employed but is no longer employed by the defendant.

6. The defendant discriminated against the plaintiff on or about, or beginning on or about,

(month) {2 , (day) iv (year) 9 0 .

 
 

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7.1. (Choose paragraph 7.1 or 7.2, do NOT complete both.)

(a) The defendant is not a federal governmental agency, and the plaintiff [check one box]

[has not LJ has filed a charge or charges against the defendant asserting the acts of

discrimination indicated in this complaint with any of the following government agencies:

(i) [A the United States Equal Employment Opportunity/Commission, on or about
(month) z% (day) 40 (year) _2& ,

(ii) [A the Illinois Department of Human Rights, on or about
(month) 3 (day) peo (year)__ 2? Y

(b) If charges were filed with an agency indicated above, a copy of the charge is ttached. LC] YES. [| NO,

but plaintiff will file a copy of the charge within 14 days.
It is the policy of both the Equal Employment Opportunity Commission and the Illinois Department of Human

Rights to cross-file with the other agency all charges received. The plaintiff has no reason to believe that this

policy was not followed in this case.

7.2 The defendant is a federal governmental agency, and
(a) the plaintiff previously filed a Complaint of Employment Discrimination with the defendant asserting

the acts of discrimination indicated in this court complaint.

 

LJ Yes (month) (day) (year)
Ta No, did not file Complaint of Employment Discrimination
2. e plaintiff received a Final Agency Decision on (month) Sj
(day) #7 (year) 530 (O_.
c. Attached is a copy of the

a. Complaint of Employment Discrimination,

Aves LJ NO, but a copy will be filed within 14 days.

Gi) = Final a. Decision
YES LJ NO, but a copy will be filed within 14 days.

8. (Complete paragraph 8 only if defendant is not a federal governmental agency.)

 
10.

11.

12.

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@Z] the United States Equal Employment Opportunity Commission has not issued a Notice of Right

to Sue.

(b) VA the United States Equal Employment Opportunity Commission has issued a Notice of Right to

Sue, which was received by the plaintiff on (month) v (day) AS
(year) 2° (do a copy of which Notice is attached to this complaint.

The defendant discriminated against the plaintiff because of the plaintiff s [check only those that apply}:

@)L_] Age (Age Discrimination Employment Act).

cy] Color (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

old Disability (Americans with Disabilities Act or Rehabilitation Act)

(a)L_] National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).
(eyL_] Race (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. §1981).

LL] Religion (Title VII of the Civil Rights Act of 1964)

(2)L_] sex (Title VII of the Civil Rights Act of 1964)

If the defendant isa state, county, municipal (city, town or village) or other local governmental agency,

plaintiff further alleges discrimination on the basis of race, color, or national origin (42 U.S.C. § 1983).
Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII claims by 28

U.S.C.81331, 28 U.S.C.§1343(a)(3), and 42 U.S.C.§2000e-5(f)(3); for 42 U.S.C.§1981 and §1983 by
42 U.S.C.§1988; for the A.D.E.A. by 42 U.S.C.§12117; for the Rehabilitation Act, 29 U.S.C. § 791.

The defendant [check only those that apply)

(a)L_] failed to hire the plaintiff.

(vA terminated the plaintiff's employment.

ol] failed to promote the plaintiff.

aL] failed to reasonably accommodate the plaintiffs religion.
cL] failed to reasonably accommodate the plaintiffs disabilities.
HL] failed to stop harassment;

«LI retaliated against the plaintiff because the plaintiff did something to assert rights protected by
the laws identified in paragraphs 9 and 10 above;

cnyL_] other (specify):

 

 

 

 

 

 
 

13. The facts supporting the plaintiff's claim of discrimination are as follows:

DGeotors Leos HESS Wes aul Caen ce

 

 

 

 

 

14. [AGE DISCRIMINATION ONLY] Defendant knowingly, intentionally, and willfully discriminated
against the plaintiff.

15. The plaintiff demands that the case be tried by a jury. [Aves [J NO

16. THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff [check only
those __ that apply|

aL] Direct the defendant to hire the plaintiff.

yl] Direct the defendant to re-employ the plaintiff.

@L] Direct the defendant to promote the plaintiff.

ca)L_] _ Direct the defendant to reasonably accommodate the plaintiffs religion.
oT Direct the defendant to reasonably accommodate the plaintiff's disabilities.
Ld Direct the defendant to (specify):

 

 

 

 

 

>

(5) If available, grant the plaintiff appropriate injunctive relief, lost wages, liquidated/double
damages, front pay, compensatory damages, punitive damages, prejudgment interest, post-
judgment interest, and costs, including reasonable attorney fees and expert witness fees.

ot Grant such other relief as the Court may find appropriate.

Qo fi —

Plaintiffs signature

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Plaintiff's name

  
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Plaintiff’s street address 5 [ lé LOncih Tre ' /

 

City Cap Lau) State LU zp GO¥5 5
—F - a nc
Plaintiff's telephone number i I9- Lf 7 / AD /

 

Date: M- 2g/ 20
 

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EEOC Form 161-8 (11/08) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
NOTICE OF RIGHT TO Sue ( ISSUED ON REQUEST)
To: Gregoire Charles . From: Chicago District Office
5116 Tomcin Trail 500 West Madison St
Oak Lawn, IL 60453 Suite 2000

Chicago, IL 60661
CERTIFIED MAIL

On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))

EEOC Charge No. . EEOC Representative Telephone No.
Armernola P. Smith,
21B-2011-01451 State & Local Coordinator (312) 869-8082
(See also the additional information enclosed with this form.)

NOTICE TO THE PERSON AGGRIEVED:

Title Vil of the Civil Rights Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, issued under Title VII, the ADA or GINA based on the above-numbered charge. It has

been issued at your request. Your lawsuit under Title Vil, the ADA or GINA must be filed in a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under

state law may be different.)
[| More than 180 days have passed since the filing of this charge.

[x] Less than 180 days have passed since the filing of this charge, but | have determined that it is unlikely that the EEOC will
be able to complete its administrative processing within 180 days from the filing of this charge.

[x] _ The EEOC is terminating its processing of this charge.

[| The EEOC will continue to process this charge.

Age Discrimination in Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed unti
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to

your case:

[| The EEOC is closing your case. Therefore, your lawsuit under the ADEA must be filed in federal or state court WITHIN
90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

[| The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
you may file suit in federat or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge is not required.) EPA suits must be brought
in federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible.

if you file suit, based on this charge, please send a copy of your court complaint to this office. _

On behaif of the Commission

John Dp. Rewe/rsh August 23, 2011

Enclosures(s) John P. Rowe, (Date Mailed)
District Director

cc: LOYOLA UNIV HEALTH SYSTEM
2160 S First Ave
Maywood, IL 60153

 

 
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YW CHARGE OF DIS. RIMINATION AGENC - CHARGE NUMBER
This form is affected by the Privacy Act of 1974: See Privacy act statement IDHR
before completing this form. 2011CF2942
#11M0125.12 7] eroc

 

 

 

Illinois Department of Human Rights and EEOC

NAME OF COMPLAINANT (indicate Mr. Ms. Mrs.) | TELEPHONE NUMBER (include area cod |

Mr. Gregoire Charles |

 

 

 

 

 

 

 

 

 

( 708) 699-4251

STREET ADDRESS CITY, STATE AND ZIP CODE | DATE OF BIRTH
5116 Tomin Trail Oak Lawn, Illinois 60453 MD YEAR
NAMED IS THE EMPLOYER, LABOR ORGANIZATION, EMPLOYMENT AGENCY, APPRENTICESHIP COMMITTEE, STATE OR
LOCAL GOVERNMENT AGENCY WHO DISCRIMINATED AGAINST ME (IF MORE THAN ONE LIST BELOW)
NAME OF RESPONDENT NUMBER OF TELEPHONE NUMBER (inciude area code)

EMPLOYEES,
Loyola University Health System MEMBERS (708) 216-9410
STREET ADDRESS CITY, STATE AND ZIP CODE COUNTY
2160 S. First Avenue Maywood, Illinois 60153 Cook

| CAUSE OF DISCRIMINATION BASED ON: DATE OF DISCRIMINATION

|
EARLIEST (ADEA/EPA) LATEST (ALL)
|
|

on eee / 1/10 /l1
Disability Race Sex [1 CONTINUING ACTION

 

 

THE PARTICULARS OF THE CHARGE ARE AS FOLLOWS:
I, A. ISSUE/BASIS

FAILURE TO REASONABLE ACCOMMODATE — OCTOBER , 2010, BECAUSE OF MY
PHYSICAL DISABILITY, HYPERTENSION

B. PRIMA FACIE ALLEGATIONS
1. I am an individual with a disability as defined by the Illinois Human Rights Act.

 

2. Respondent was aware of my disability.

3. In October 2010, Ken Markwell, (disability unknown), Director failed to honor my

accommodation request consisting of allowing me frequent bath

On
was given.

Dept. of Human Rights
Page 1 of 5 | MAY 06 201

lalso this ch led EEOC. I ft UBSCRIB AND LSE eS On
aiso want this charge filed with the - Iwill advise the agencies i ; TERNAaRE Leyva MME
change my address or telephone number and I will cooperate fully with them s s ED swO :

in the processing of my charge in accordance with their procedures, -
| THISa?* payor Apu’ 2011

Von? Poh __

 

 

 

 

 

 

 

 

 

 

 

NOTARY (SIGNATURE |
P TOFFIGIAL SEALY 3 | ZZ (4 vf |e,
note? et Pas of iKinois SIGNKAURE OF on tanX < fez
; Commission Expires 4/29/2012

 

I declare under penalty that the foregoing is true and correct } swear or affirm
that I have read the above charge and that it is true to the best of my
knowledge, information and belief,

NOTARY STAMP

 

 

 

 

 
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Charge Number:
Complainant: Gregoire Charles
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IV. A. ISSUE/BASIS

DISCHARGE - JANUARY 10, 2011, BECAUSE OF MY
RACE, BLACKs

B. PRIMA FACIE ALLEGATIONS
1. My race is black,

2. My job performance as informatics associate met Respondent’s
expectations. I was hired on September 27, 2010..

3. On January 10, 201 1, I was discharged by Ken Markwell, (white),
Director. The reason given was my performance.

4. Similarly situated white employees whose job performance was comparable
to mine were not discharged.

V. A. ISSUE/BASIS
DISCHARGE — JANUARY 10, 2011, BECAUSE OF MY
PHYSICAL DISABILITY, HYPERTENSION

B. PRIMA FACIE ALLEGATIONS
1. Tam an individual with disability as defined by the Illinois Human Rights
Act.

2. Respondent was aware of my disability.

3. My job performance as informatics associate met Respondent’s
expectations. I was hired on September 27, 2010.

4. On January 10, 2011, I was discharged by Ken Markwell, (no known
disability), Director. The reason given was my performance.

5. My condition is unrelated to my ability to perform my job with a
Reasonable accommodation.

MFP/dmw

 
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4440 West 95th Street

Oak Lawn, Illinois 60453 a Advocate Christ Medical Group

Telephone 708.684.4393

_ Adult Medicine Center

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MEDICAL CENTER = Since og fitjo7- HE Was Gaeren ON Nyprocaoro-

- Tora . . _
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CAN Cause FREQUENT VRINATIO Ky.

THANKS
J *
BR TRewab, ABIbA
PSY, (Acme ) RESIDENT
Oy F 2106.

PR StawmegA, Rowen.

Ig

inga, MD
Ronald Stavinga:
Pgr 2949

  

Related to the Evangelical Lutheran Church in America and the United Church of Christ

Recipient of the Magnet award for excellence in nursing services by the American Nurses Credentialing Center

01-8087

 

 
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“Sregoire MR # 1296973) es | Encounter Date: T6/1:

at instructions - ee Gregoire Chasies ‘MRA 12_
instructions Info. .

_sthor Note Status Last Update User. Last Update Date/Time

_orraine Fearon Np, APN _ Signed Lorraine Fearon Nee APN = 10/15/10 01:58 PM ©

tient instructions

2

 

Occupational Health Services ‘
- Phone: 708/531-7900 oe
Fax: 708/531-5201 : |

Work Status for Non Work Related injuries/iliInesses

Date: 10/18/2010
- Patient Name: Gregoire Charles
Provider: Lorrairi3 Fearon, A. P.N.
DOB: 2/11/1968
Employer: Loyola
Job Title: Health informatics Assoc
Department: Pax ,

Diagnosis: Rash (782.1R) | E - EST PT OFFICE VISIT FOCUSED
. a | (FC)

Patient may return to work without restrictions Immediately

Your next appoiritment is with Lorraire Fearon * PLN. - Ti | | .

 

 
